 8:05-cr-00282-JFB-FG3           Doc # 18   Filed: 11/21/05   Page 1 of 1 - Page ID # 36




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )
             vs.                              )                8:05CR282
                                              )
WILLIAM SCHWENING,                            )         SCHEDULING ORDER
                                              )
                    Defendant.                )


      IT IS ORDERED that the following is set for hearing on November 29, 2005 at
2:00 p.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska:

      - Arraignment on Superseding Indictment

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 21st day of November, 2005.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
